                       IN Tiffi UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION


MARILENA          PEREZ        and    MIRIAM
MALAVE-VEGA, on behalf of themselves
and all other similarly situated persons,
                                                   Case No.: 5:20-cv-00113-FL
                    Plaintiffs,
                                                                    EXHIBIT A
V.

BUTTERBALL, LLC, NORTH STATE
SERVICES, LLC,  TIMOTHY REID
FULCHER, and HEATHER BROOKE
FULCHER,

                    Defendants.




                       SETTLEMENT AGREEMENT AND RELEASE

       THIS SETTLEMENT AGREEMENT AND RELEASE (the "Agreement") is made and

entered into this the / 0.;f.,day of Ju,( y , 2020, by and between Marilena Perez and Miriam

Malave-Vega (together, "Plaintiffs"), and Butterball, LLC, North State Services, LLC, Timothy

Reid Fulcher, and Heather Brooke Fulcher (together, "Defendants").

                                         WITNESSETH:

       WHEREAS, North State Services, LLC ("North State") provides certain cleaning

services at Butterball, LLC ("Butterball"); and,

       WHEREAS, Butterball owns and operates a turkey processing plant in Mount Olive,

North Carolina;

       WHEREAS, Plaintiffs are former employees of North State who were assigned to

provide cleaning services on behalf of North State at Butterball;




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        WHEREAS, Plaintiffs were not employees or independent contractors of Butterball; and,

        WHEREAS, Plaintiffs instituted an action in the United States District Court for the

Eastern District ofNortb Carolina, Western Division, which is captioned Marilena Perez, et al.

v. Butterball, LLC, et al., and denominated as Civil Action No.: 5:20-cv-00113-FL (the

"Action")· and
         '     '

        WHEREAS, in the Action, Plaintiffs sought relief under the Fair Labor Standards Act

and, alternatively, under the Nortb Carolina Wage and Hour Act (the "Acts"); and,

        WHEREAS, Defendants have denied all of Plaintiffs' claims and denied any liability to

Plaintiffs; and,

        WHEREAS, Plaintiffs and Defendants recognize the risk and expense associated with

litigation; and,

        WHEREAS, Plaintiffs and Defendants desire to settle all matters in controversy between

the parties arising out of the above-referenced Action.

        NOW, THEREFORE, in consideration of the mutual covenants, the promises and other

good and valuable considerations, the sufficiency of which hereby are acknowledged, the

undersigned parties agree as follows:

        1.         Joint Motion for Settlement Approval. Within ten (10) days of the execution of

this Agreement, the parties agree to file a joint motion for approval of this Agreement. The

parties agree that this Agreement is only valid if the Court approves the Agreement.

        2.         Payment to the Plaintiffs.

                   a.     Nortb State Services, LLC agrees to pay Miriam Malave-Vega the gross

sum of Three Thousand One Hundred Thirty-Five Dollars ($3,135.00), which amount represents

the sum of the amount of back wages represented on page one of the spreadsheet attached hereto



                                                 2




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as Exhibit B and doubled for liquidated damages. The amount of back wages is equal to the

difference between the total amount specified for Miriam Malave-Vega in the Total Gross

column on page 1 of Exhibit B and the total amount indicated for Miriam Malave-Vega in the

Payment Amount column on page 1 of Exhibit B.

               b.      North State Services, LLC agrees to pay Marilena Perez the gross sum of

Fourteen Thousand Six Hundred Eighty-Two Dollars ($14,682.00), which amount represents the

sum of the amount of back wages represented on the spreadsheet attached hereto as Exhibit B

and doubled for liquidated damages.      The amount of back wages is equal to the difference

between the total amount specified for Marilena Perez in the Total Gross column on page 1 of

Exhibit B and the total amount indicated for Marilena Perez in the Payment Amount column on

page 1 of Exhibit B.

               c.      North State Services, LLC will withhold applicable wage taxes on 50% of

each of the amounts described above in subparagraphs (a) and (b) as back wages and shall timely

issue Forms W-2 for each Plaintiff.

               d.      North State Services, LLC will issue Forms 1099 to each Plaintiff for the

remaining 50% of each of the amounts described above in subparagraphs (a) and (b) as

liquidated damages.

               e.      Each of the payments described above in subparagraphs (a) and (b) shall

be made by check payable to the respective Plaintiff, delivered to the Law Office of Robert I.

Willis, P.A., within thirty (30) days of the Court's approval of this Agreement.

       3.      Payment of Costs and Attorneys' Fees.

               a.      North State Services, LLC agrees to pay the gross sum of Ten Thousand

Five Hundred Ten Dollars ($10,510.00), payable to the Law Office of Robert J. Willis, P.A. Ten



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thousand dollars ($10,000.00) of this payment shall be for attorneys' fees, and North State

Services, LLC shall issue a Form 1099 for this amount and for the amount paid for costs incurred

by Plaintiffs in this Action. The remaining five hundred ten dollars ($510.00) of this payment

shall be for costs incurred by Plaintiffs in this Action.

                b.     The payment described above in subparagraph (a) shall be made by check

payable to the Law Office of Robert J. Willis, P.A. within thirty (30) days of the Court's

approval of this Agreement.

       4.      Stipulation of Voluntary Dismissal with Prejudice. Within thirty (30) days of

the Court's final approval of this Settlement Agreement and the Defendants' compliance with the

terms of this Settlement Agreement, Defendants and Plaintiffs agree to execute and file with the

Court a Joint Notice of Dismissal Pursuant to Rule 4l(a)(l)(A)(ii), Fed.R.Civ.P. in the form

attached hereto as Exhibit C.

       5.      Release. In consideration of the mutual covenants and promises set forth herein,

the Plaintiffs shall execute a General Release of all claims against all Defendants, in the form of

Exhibit D attached hereto and incorporated herein by reference.

       6.      No Admission of Liability. It is understood and agreed that this Agreement is a

full and final compromise of disputed claims as to both questions of liability and as to the nature

and extent of any damages, and that neither this Agreement, nor the terms and provisions

contained herein, shall be construed as an admission of liability by any party to this Agreement,

and any such liability is expressly and unequivocally denied by Defendants.

       7.      Taxes. Except as explicitly stated herein, Plaintiffs agree that they shall be solely

responsible for all taxes, insurances, penalties, and other charges, if any, which may be owed to




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or assessed by governmental agencies as a result of the payments made to them and their

counsel.

        8.      Costs and Attorneys' Fees. Except as explicitly stated herein, all parties hereto

shall bear their own costs and attorneys' fees in connection with the disputes and the claims

raised in the Action that are the subject of this Agreement.

        9.      Governing Law and Venue. This Agreement shall be construed and governed in

accordance with the laws of the State of North Carolina. Any action relating to this Agreement

shall be instituted and prosecuted only in the United States and, specifically, exclusively in an

appropriate state court within Duplin or Wayne County, North Carolina, or in an appropriate

federal court within the Eastern District of North Carolina.

        I 0.    Severability. The invalidity of any particular provision of this Agreement shall

not affect the other provisions hereof, which nevertheless shall continue in full force and effect.

        11.    Successors in Interest. This Agreement shall be binding upon and shall inure to

the benefit of the successors, assigns, heirs, and personal representatives of the parties hereto.

        12.     Originals. This Agreement is to be signed in one (!)or more counterparts, each

of which, when executed with the same formality and in the same manner as the original, shall

constitute an original.

        13.     Descriptive Headings. The descriptive headings of the various sections hereof

were formulated and inserted for convenience only and shall not be deemed to affect the

meaning or construction of any of the provisions hereof.

        14.    Authority. The parties warrant that they are legally competent and fully

empowered and authorized to execute this Agreement; that they have not conveyed or assigned,

pledged, hypothecated, or otherwise disposed of any interest in the claims or causes of action



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being released herein; and that there are no additional entities or persons affiliated with any party

who are necessary to effectuate this Agreement and the release contained herein.

        15.     Careful Reading and Voluntary Execution.            Each Plaintiff and Defendant,

through their respective attorneys, acknowledges:

                a.     The terms of this Agreement are the product of mutual negotiations and

compromise between each of the parties;

                b.     Each has been afforded a reasonable opportunity to consider the meaning

and effect of this Agreement, and has had sufficient time to read and consider its terms and

provisions, and each in fact has read the Agreement in its entirety and has considered its terms

and provisions. Each has had the opportunity to comment upon, request interpretation of, and

make or suggest changes to the Agreement, and each has been represented by counsel of their

own choice throughout the negotiations and settlement of the matter; and

                c.     Each executes this Agreement freely and voluntarily, and has relied on its

or his/her own attorney for advice and has not been induced or influenced in any way to enter

into or execute this Agreement.

       16.      Entire Consideration for this Agreement. This document sets forth the entire

consideration for this Agreement, which consideration is contractual and not a mere recital. All

agreements and understandings between the parties are embodied and expressed herein.

       17.      General. Each party agrees to perform any further acts and deliver any additional

documents that reasonably may be requested to carry out the provisions of this Agreement. The

parties further agree that the recitals contained in the preceding WHEREAS paragraphs are

incorporated herein by reference, and that the terms of this Agreement are contractual and not a

mere recital.


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          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed

under seal in such form as to be binding, as of the day and year written above.

          Signed and executed this 29th day of June, 2020, by counsel for Plaintiffs on behalf of

Plaintiffs, having received full and complete authorization to execute this document on their

behalf.

                                                 ls/Robert J. Willis,
                                                 Robert J. Willis, Esq.
                                                 Counsel for the Plaintiffs
                                        .<',.,
          Signed and executed this~ day of __:f'_·_v_l_,y~__, 2020.

                                                 North State Services, LLC

                                                 By:        c: ~1.21-= ~
                                                 Printed name:      1"'1 ""'° ~ 'J {\ e ; cl F" 1,),.,.....,
                                                 Title:         f' re. 5, 'Je,,_-f
          Signed and executed this ID fiJay of r"'         17 ,2020.
                                                 <:::      !& u?..:f <_,--~..J,J_..
                                                 Timothy Reid Fulcher


          Signed and executed this I 04<- day of J ..._({ , 2020.

                                                  ~f'f~~\'LQ:b.&ch-tA
                                                 H~er Brooke Fulcher


          Signed and executed this _ _ day of _ _ _, 2020.

                                                 Butterball, LLC

                                                 By:

                                                 Printed name: - - - - - - - - - - - - -

                                                 Title:



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          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed

under seal in such form as to be binding, as of tbe day and year written above.

          Signed and executed this 29th day of June, 2020, by counsel for Plaintiffs on behalf of

Plaintiffs, having received full and complete authorization to execute this document on their

behalf.

                                             ls/Robert J. Willis,
                                             Robert J. Willis, Esg.
                                             Counsel for the Plaintiffs

          Signed and executed this _ _ day of _ _ _ _ _ ___, 2020.

                                             North State Services, LLC

                                             By:

                                             Printed name: - - - - - - - - - - - - - -

                                             Title:

          Signed and executed this _ _ day of _ _ _, 2020.


                                             Timothy Reid Fulcher


          Signed and executed this _ _ day of _ _ _, 2020.


                                             Heather Brooke Fulcher


          Signed and executed this   :/~y o~            2020.

                                             Butterba0                            ____.--

                                             By:~
                                                        ~ l£U'1 r7.e If. g Pf!,k
                                             Printed name:                                  n
                                             Title: Slff1 6~ ~



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                                                        ~
                                                                                                       ExhibitB
             3723 • North State Services LLC
               Vendor Activity· Detailed
                  October l, 2018 - October 31, 2.019
                                                            Payment
   Date         Reference                                    Amount
Mariam Malave                                                          Reg Hours OT hrs     Pay rate   OT rate    Total Gross
          Beginning Balance
 10/5/18               1088                                   360.00       36.00               10.00      15.00           360.00
 10/12/18             1114                                    840.00       40.00    44.00      10.00      15.00         1,060.00
 10/18/18              1133                                   840.00       40.00    44.00      10.00      15.00         1,060.00
 10/26/18              1155                                   600.00       40.00    20.00      10.00      15.00           700.00
 11/1/18               1169                                   840.00       40.00    44.00      10.00      15.00         1,060.00
 2/13/19               1507                                   240.00                24.00      10.00      15.00           360.00
 2/28/19              1548                                    655.00                65,50      10.00      15.00           982.50
  3/8[19              1556                                    720.00                72.00      10.00      15.00         1,080.00
                   Totals for Mariam Malave                 5,095.00                                                    6,662.50

Marilena Perez
            Beginning Balance
 12[7[18                1270                                  170.00                17.00      10.00      15.00         . 255.00
 12(31(18                1362                                 120.00                12.00      10.00      15.00           180.00
 1/18/19                1406                                  720.00                72,00      10.00      15.00         1,080.00
 1/24/19                1422                                  200.00                20.00      10.00      15.00           300.00
  2/1/19                1435                                  200.00                20.00      10.00      15.00           300.00
  2/8/19                1478                                  320.00                32.00      10.00      15.00           480.00
 2[13/19                1502                                  440.00                44.00      10.00      15.00           660.00
 2/22(19                1527                                  320.00                32.00      10.00      15.00           480.00
 2/28/19                 1543                                 320.00                32.00      10.00      15.00           480.00
  3/8[19                 1569                                 440.00                44.00      10.00      15.00           660,00
 3/15/19                 1592                                 200.00                20.00      10.00      15.00           300.00
 3/22(19                 1617                                 320.00                32.00      10.00      15.00           480.00
 3/29/19                 1646                                  80.00                80.00      10.00      15.00         1,200.00
  4[5[19                 1660                                 440.00                44.00      10.00      15.00           660.00
 4/11/19                 1693                                 320.00                32.00      10.00      15.00           480.00
 4/19/19                 1718                                 200.00                20.00      10.00      15.00           300.00
 4/25/19                 1743                                 200.00                20.00      10.00      15.00           300.00
 5/13/19
 5/10/19
 5/17/19
 5/23/19
                         1755
                         1793
                         1826
                        1849
                                                              440.00
                                                              200.00
                                                              100.00
                                                              320.00
                                                                                    44.00
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                                                                                                                          660.00
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 5/30/19                 1889                                 320.00
                                                              320.00
                                                                                    32.00
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                                                                                               10.00
                                                                                               10.00
                                                                                                          15.00
                                                                                                          15.00
                                                                                                                          480.00
                                                                                                                          480.00
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  6/6/19                 1921
 6/14/19                 1954                                 320.00                32.00      10.00      15.00           480.00
                         2095                                 200.00                20.00      10,00      15.00           300.00
 7/18/19
                         2117                                 440.00                44.00      10.00      15.00           660.00
 7/25/19
                         2122                                  80.00                 8.00      10.00      15.00           120.00
  7/25/19
                         1988                                 320.00                32.00      10.00      15.00           480.00
  5/19/19
 6/27/19                 2015                                 200.00                20.00      10.00      15.00           300.00
                         2036                                 310.00                31.00      10.00      15.00           465.00
  7/5/19
                         2068                                  80.00                 8.00      10.00      15.00           120.00
 7/11/19
                         5878                                 320.00                32.00      10.00      15.00           480.00
 08/01/19 .
                         5921                                 170.00                17.00      10.00      15.00           255,00
  8/8/19
                         5969                                 200,00                20.00      10.00      15.00           300.00
  8/15/19
                         6011                                 310.00                31.00      10.00      15.00           465.00
 08/2Z/19
                                                              200.00                20.00      10.00      15.00         . 300.00
 08/29/19                6058
                         6103                                 285.00                28.50      10.00      15.00           427.50
 09/05/19
                         6145                                 200.00                20.00      10.00      15.00           300.00
 09/12/19
                         5190                                 320.00                32.00      10.00      15.00           480.00
 09/19/19
                         5235                                 440.00                44.00      10.00      15.00           660,00
 09/26/19
                         6285                                 500.00                50.00      10.00      15.00           750.00
 10/03/19
                         6336                                 320.00                32.00      10.00      15.00           480,00
 10/10/19
                         6390                                 200.00                20.00      10.00      15.00           300.00
 10/17(19


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  10/24/19                 6442"                       200.00    20.00   10.00   15.00                300.00
  10/31/19                 6486                        200.00    20.00   10.00   15.00 --.,.,-'3'-"0"'0.c;:.000--
                         Totals for Marilena Perez   12,525.00                                    19,867 .50




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                                                                                                                    I
                    IN THE UNITED STATES DISTRICT COURT
                FOR TI!E EASTERN DISTRICT OF NORTH CAROLINA
                              EASTERN DIVISION

MARILENA PEREZ and MIRIAM                               )               EXHIBITC
MALAVE-VEGA on behalf of themselves and all             )
other similarly situated persons,                       )
                                                        )
                        Plaintiffs,                     )
                                                        )
~                                                       )
                                      )
BUTTERBALL, LLC, NORTH STATE SERVICES,)                         COLLECTIVE ACTION
LLC, TIMOTHY REID FULCHER, and        )                         29 u.s.c. § 216(b)
HEATHER BROOKE FULCHER,               )
                                      )                        CIVIL ACTION NO.:
                      Defendants.     )                        5:20-cv-113-FL


          NOTICE OF STIPULTION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 4l(a)(l)(A)(ii), Fed.R.Civ.P., plaintiffs Marilena Perez and

Miriam Malave-Vega, and defendants Butterball, LLC, North State Services, LLC,

Timothy Reid Fulcher, and Heather Brooke Fulcher, by and through their respective

undersigned counsel of record, hereby stipulate to the dismissal of this action with

prejudice.   Except as may have been agreed upon by the parties in a Settlement

Agreement that the Court has approved in the above-captioned action, each party to this

action shall bear his, her or its own costs and attorney's fees in this action.

        This the __ July, 2020.

                                Respectfully submitted this _ _day of May, 2020.


 WHITE & ALLEN, P.A.                           LAW OFFICE OF ROBERT J. WILLIS, P.A.

 Isl John P. Marshall                                  Isl Robert J. Willis
 John Marshall, Esq.                                   Robert J. Willis, Esq.
 NC Bar #26804                                         NCBar#l0730
 jmarshall@whiteandallen.com                           rwillis@rjwillis-law.com




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Mailing address:                                Mailing Address:
P.O. Box27808                                   P.O. Box 1828
Raleigh, NC 27611                               Pittsboro, NC 27312
Tel: (919)424-3850                              Tel: (919)821-9031
Fax: (919)786-9662                              Fax: (919)821-1763
Counsel for Defendants North State
      Services, LLC, Timothy Reid               (street address)
      Fulcher, and Heather Brooke Fulcher       488 Thompson Street
                                                Pittsboro, NC 27312
                                                Counsel for Plaintiffs

WOMBLE BOND DICKJNSON (US) LLP

Isl Hayden J. Silver ill
Hayden J. Silver, ill, Esq.
NC #10037
Theresa M. Sprain
N.C. Bar #24540)
555 Fayetteville Street, Suite 1100
PO Box 831
Raleigh, North Carolina 27601 Telephone: (919) 755-2188
Facsimile: (919) 755-6099
E-mail: jay.silver@wbd-us.com
Counsel for Defendant Butterball, LLC




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                      CERTIFICATE OF SERVICE

       I hereby certify that on July __, 2020 I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the

following: .

Hayden J. Silver III, Theresa M. Sprain, and John P. Marshall.

This the _day of July 2020.

                                     ls/Robert J. Willis
                                     E-mail: rwillis@rjwillis-law.com
                                     NC Bar No: 10730




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                                                                              ExhibitD

                                    GENERAL RELEASE

   WHEREAS, - - - - - - - - - - (hereinafter, "Plaintiff') is a plaintiff in the above-
captioned lawsuit (the "Lawsuit"); and

    WHEREAS, the parties to the Lawsuit have agreed to resolve the disputes between them
pursuant to the Settlement Agreement and Release approved by the Court;

    TIIBREFORE, in consideration of the mutual covenants and promises made by the parties in
the Settlement Agreement and Release approved by the Court, into which this General Release is
incorporated by reference, and for other good and valuable consideration, the adequacy and
sufficiency of which are expressly acknowledged, it is agreed as follows:

        l.      General Release and Waiver of Claims by Plaintiff. Plaintiff, for herself and
her heirs, representatives, successors, and assigns, does hereby irrevocably and unconditionally
release, acquit, and forever discharge Butterball, LLC, North State Services, LLC, Timothy Reid
Fulcher, and Heather Brooke Fulcher, as well as Butterball, LLC's and North State Services,
LLC's past, present, and future parent companies, subsidiaries, affiliates, related companies,
officers, directors, employees, agents, attorneys, representatives, successors, and assigns from
any and all claims, demands, causes of action, suits, and liabilities from the beginning of time
until the date of this Agreement, including but not limited to claims arising from, out of, or
otherwise relating to the Lawsuit. This general release includes any and all claims, demands,
grievances, causes of action, suits, and liabilities of every kind, character, and description
whatsoever, both legal and equitable, under federal or state statutes or common law, whether
known or unknown, including but not limited to claims for compensatory damages, punitive
damages, back pay reinstatement, attorneys' fees, expenses and costs, including but not limited
to all claims arising under the Fair Labor Standards Act, 29 U.S.C. 201, et seq., the North
Carolina Wage and Hour Act, N.C. Gen. Stat.§ 95-2A; the Age Discrimination in Employment
Act of 1967, 29 U.S.C. § 621 et seq., Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e et seq., the Family and Medical Leave Act, as amended, 29 U.S.C. § 2601 et
seq.; the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101 et seq., the
Employee Retirement Income Security Act of 1974 ("BRISA"), and the North Carolina
Retaliatory Employment Discrimination Act, N.C. Gen. Stat. § 95-240 et seq., as well as those
claims which were or could have been included in the Lawsuit. Plaintiff agrees that Plaintiff is
waiving Plaintiff's right to any monetary recovery should any governmental agency or entity,
including but not specifically limited to, the Equal Employment Opportunity Commission and
the Department of Labor, pursue any claims on Plaintiff's behalf. Nothing herein purports to
release claims which may arise after the date on which this Agreement is executed or which
cannot be released by law.

         2.     Covenant Not to Sue. Plaintiff hereby covenants and agrees that she will not file
or permit to be filed on her behalf, any action, suit, or administrative proceeding, or take any
other action which seeks to pursue or enforce any claim, demand, cause of action, suit, or
liability which she has released herein.




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        3.      Severability. If any provision of this General Release as applied to any party or
to any circumstance shall be deemed to be illegal, invalid, or unenforceable, such illegality,
invalidity, or unenforceability shall not affect the remainder hereof or its validity or
enforceability in any jurisdiction.

        4.    Entire Agreement; Modification. This General Release, along with the
Settlement Agreement and Release into which it is incorporated by reference, constitute the
entire agreement between the parties with respect to the subject matter hereof, and supersedes all
prior or contemporaneous agreements, whether written or oral. This General Release may be
amended, modified, supplemented, waived, discharged, or terminated only by a written
document signed by all parties hereto and approved by the Court.

        5.     Choice of Law. This Agreement is intended and shall be construed in accordance
with the laws of the State of North Carolina, or applicable federal law.

        6.     Acknowledgment. Plaintiff represents and warrants that she has been given a
reasonable period of time to consider this Agreement; that she has read the entire Agreement;
that she has been provided with a translation into Spanish by her counsel as necessary; that she
has consulted her attorney about the meaning and intent of the Agreement; and that she enters
into this Agreement of her own free will, without coercion, undue influence, threat, or
intimidation of any kind, with the intention of being legally bound to its terms. Plaintiff
acknowledges and agrees that she has not previously assigned or transferred any claims that she
has released by this Agreement.

THE UNDERSIGNED HEREBY STATES THAT SHE HAS CAREFULLY READ THE
FOREGOING AGREEMENT, KNOWS THE CONTENTS THEREOF, AND SIGNS THE
SAME OF HER OWN FREE ACT.

This the __ day of _ _ _ _ _, 2020.




Signature




Printed Name




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